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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

 STEVE DEER, Individually and on Behalf           §
 of All Others Similarly Situated,                §
                                                  §
             Plaintiff,                           §
                                                  §       CIVIL ACTION NO. 5:21-cv-215
 V.                                               §
                                                  §          JURY TRIAL DEMANDED
 JGB OILFIELD SERVICES, LLC,                      §
                                                  §
             Defendant.                           §
                                                  §
                                                  §

                            PLAINTIFF’S ORIGINAL COMPLAINT
                          COLLECTIVE ACTION AND JURY DEMAND


        1.       Defendant JGB Oilfield Services, LLC (“Defendant”) required Plaintiff Steve Deer

(“Plaintiff”) to work more that forty hours in a work week as a flowback operator. Plaintiff is a

former employee of Defendant who performed work related to oil and gas wells serviced by

Defendant. Defendant misclassified Plaintiff as an independent contractor and paid him a flat day

rate for his substantial regular and overtime hours. Defendant also misclassifies other flowback

operators and similar employees as independent contractors across the country and likewise denied

them their proper overtime compensation.

        2.       Defendant’s conduct violates the Fair Labor Standards Act (“FLSA”), which

requires non-exempt employees to be compensated for all hours in excess of forty in a workweek

at one and one-half times their regular rate. See 29 U.S.C. § 207(a). On behalf of himself and all

other similarly situated employees, Plaintiff brings this lawsuit as a collective action under the

FLSA, 29 U.S.C. § 216(b). Members of the collective action are referred to hereinafter as the

“FLSA Class Members.”


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                    SUBJECT MATTER JURISDICTION AND VENUE


       3.       This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331 because this lawsuit is brought under the FLSA.

       4. Venue is proper in this District because a substantial portion of the events forming the

basis of this suit occurred in this District. Specifically, Defendant employed Plaintiff in this

District and Plaintiff performed the work that forms the basis of this lawsuit in this District.

Defendant is headquartered in this District.

                            PARTIES AND PERSONAL JURISDICTION

       5.      Plaintiff Steve Deer is an individual residing in Ellis County, Texas. Plaintiff’s

written consent to this action is attached hereto as Exhibit “A.”

       6.      The “FLSA Class Members” are all current and former workers who performed

work for Defendant associated with monitoring and maintaining oil and gas wells throughout the

United States during the three-year period before the filing of this Complaint that Defendant

classified as independent contractors.

       7.       Defendant JGB Oilfield Services, LLC is a domestic limited liability company

doing business throughout the United States. Defendant may be served with process through its

registered agent Brooks Law, LLP, 12517-A Quaker Avenue, Lubbock, Texas 79424.

                                          COVERAGE


       8.      At all material times, Defendant has been an employer within the meaning of 3(d)

of the FLSA. 29 U.S.C. § 203(d).

       9.      At all material times, Defendant has been an enterprise within the meaning of 3(r)

of the FLSA. 29 U.S.C. § 203(r).



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       10.     At all material times, Defendant has been an enterprise or enterprise in commerce

or in the production of goods for commerce within the meaning of 3(s)(1) of the FLSA because

Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

       11.     Furthermore, Defendant has an annual gross business volume of not less than

$500,000.

       12.     At all material times, Plaintiffs and FLSA Class Members were individual

employees who engaged in commerce or in the production of goods for commerce as required by

29 USC § 206-207.

               FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS


       13.     Defendant provides oil and gas well monitoring services to energy companies

nationwide.

       14.     Defendant employs its workforce to monitor and maintain oil and gas wells in

multiple states including Texas and Oklahoma.

       15.     Plaintiff and the FLSA Class Members were/are employed by Defendant as

flowback operators. As such, their primary duties consist of monitoring oil and gas wells located

throughout the United States. A flowback operator’s work is labor intensive and commonly

involves days at a time at a well site.

       16.     Plaintiff and the FLSA Class Members worked on a regular basis for Defendant at

various oil and gas well locations, monitoring such oil and gas wells.

       17.     Plaintiff Steve Deer worked for Defendant on an essentially non-stop basis from

approximately October of 2014 to February of 2020.

       18.     Plaintiff Deer worked for Defendant at multiple well sites throughout West Texas.

       19.     While working for Defendant at these various locations, Plaintiff interacted with


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and became familiar with the way Defendant treats its other employees with respect to overtime

pay and that it misclassifies such workers as independent contractors. Therefore, Plaintiff has first-

hand personal knowledge of the same pay violations throughout Defendant’s operations at multiple

geographical locations.

       20.      Defendant paid Plaintiff and FLSA Class Members on a flat daily basis without

overtime regardless of the number of hours worked per week, despite scheduling and requiring

work well in excess of forty hours per week. Commonly, Plaintiff and other flowback operators

worked twelve-hour shifts, seven days a week for a total of 84 hours.

       21.      Defendant hired/fired, issued pay, supervised, directed, disciplined, scheduled and

performed all other duties generally associated with that of an employer with regard to Plaintiff

and the FLSA Class Members.

       22.      In addition, Defendant instructed Plaintiffs and the FLSA Class Members about

when, where, and how they were to perform their work.

       23.      Plaintiff was a manual laborer.

       24.      Moreover, the following conduct further demonstrates that Defendant acted as an

employer with respect to Plaintiff and the FLSA Class Members:

             a. Defendant required Plaintiff and the FLSA Class Members to turn in the hours they

                worked once a week just like normal hourly-paid employees;

             b. Defendant paid Plaintiff and the FLSA Class Members on a non-negotiable rate it

                unilaterally set;

             c. Defendant required Plaintiff and the FLSA Class Members to report to their

                assigned well at a set time;




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     d. Plaintiff and the FLSA Class Members had no control over what well they may be

        assigned to;

     e. Defendant required Plaintiff and the FLSA Class Members to request time off in

        advance and have that time off preapproved;

     f. Defendant issued work orders to Plaintiff and the FLSA Class Members;

     g. Defendant provided safety training to Plaintiff and the FLSA Class Members

        instructing them precisely how to perform their work;

     h. Defendant assigned Plaintiff and the FLSA Class Members so many work hours

        per week (often more than 70) that, as a practical matter, they were prevented from

        working for any other company;

     i. Defendant controlled the amount of hours Plaintiff and the FLSA Class Members

        worked;

     j. Defendant dictated the locations at which Plaintiff and the FLSA Class Members

        worked;

     k. Defendant required Plaintiff and the FLSA Class Members to work more than forty

        (40) hours per workweek, and typically FLSA Class Members worked more than

        seventy (70) hours per workweek;

     l. Plaintiff and the FLSA Class Members’ services were integrated into Defendant’s

        operations;

     m. Plaintiff and the FLSA Class Members were required to perform their work in an

        order set by Defendant;

     n. Plaintiff and the FLSA Class Members worked for Defendant for long and

        indefinite periods of time, often years, as is common with employees;



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             o. Defendant had rules that Plaintiff and the FLSA Class Members were required to

                follow when performing their jobs;

             p. Defendant required Plaintiff and the FLSA Class Members to attend company

                meetings; and

             q. Defendant maintained the right to discharge Plaintiff and the FLSA Class Members

                at will.

       25.      A substantial portion of Defendant’ annual revenue is derived from work performed

by Plaintiff and the FLSA Class Members.

       26.      Despite these facts, Defendant improperly classified Plaintiff and the FLSA Class

Members as independent contractors and not employees.

       27.      Defendant classified its employees as independent contractors to avoid its

obligations to pay employees pursuant to the FLSA as well as to reap other benefits of such

classification such as reduced tax liability, avoiding paying workers’ compensation insurance, and

other forms of insurance, and to pass on Defendant’s operational costs to their work force.

       28.      However, at all times, the flowback workers and other similarly situated workers

were employees of Defendant.

       29.      Although Plaintiff has been required to work more than forty (40) hours per

workweek, and did so frequently, Plaintiff was not compensated at the FLSA mandated time-and-

a-half rate for hours in excess of forty (40) per workweek.

       30.      Instead, Plaintiff was paid a flat day rate for all hours worked, regardless of how

many hours he actually worked.

       31.      Defendant did not guarantee a set number of days per week or a set weekly salary.




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       32.     No FLSA exemption applies to employees such as Plaintiffs and FLSA Class

Members.

       33.     Plaintiff did not hire or fire other employees.

       34.     Plaintiff did not supervise two or more employees.

       35.     Defendant did not pay the Plaintiff a salary.

       36.     Defendant paid Plaintiff a day rate.

       37.     Defendant’s misclassification was not by accident, but a well thought out scheme

to reduce its labor costs. Accordingly, Defendant’s violations of the FLSA were willful.

                                   VIOLATION OF 29 U.S.C. § 207
                             FAILURE TO PAY OVERTIME UNDER THE FLSA
                                       (COLLECTIVE ACTION)

       38.      Plaintiffs incorporate all allegations contained in the foregoing paragraphs.

       39.      Defendant’s practice of failing to pay Plaintiff at a time-and-a-half rate for hours

in excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.

       40.      None of the exemptions provided by the FLSA regulating the duty of employers

to pay overtime at a rate not less than one and one-half times the regular rate at which its employees

are employed are applicable to Defendant or Plaintiff.




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                              COLLECTIVE ACTION ALLEGATIONS


         41.    Plaintiff has actual knowledge that FLSA Class Members have also been denied

overtime pay for hours worked over forty (40) hours per workweek as a result of Defendant’s

misclassification of its employees.

         42.   Plaintiff’s knowledge is based on his personal work experience and through

communications with other workers of Defendant while performing work throughout multiple

locations for Defendant.

         43.    Other workers similarly situated to the Plaintiff work for Defendant throughout the

United States, but are not paid overtime at the rate of one and one-half their regular rate when

those hours exceeded forty (40) hours per workweek.

         44.    Although Defendant permitted and/or required FLSA Class Members to work in

excess of forty (40) hours per workweek, Defendant has denied them full compensation for their

hours worked over forty (40).

         45.    Defendant has classified and continues to classify FLSA Class Members as

independent contractors.

         46.    FLSA Class Members perform or have performed the same or similar work as

Plaintiffs and were misclassified as independent contractors by Defendant.

         47.    FLSA Class Members are not exempt from receiving overtime pay under the FLSA.

         48.    As such, FLSA Class Members are similar to Plaintiffs in terms of relevant job

duties, pay structure, misclassification as independent contractors and/or the denial of overtime

pay.




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       49.     Defendant’s failure to pay overtime compensation at the rate required by the FLSA

results from generally applicable policies or practices, and does not depend on the personal

circumstances of FLSA Class Members.

       50.     The experiences of Plaintiff, with respect to his pay, hours, and duties are typical

of the experiences of FLSA Class Members.

       51.     The specific job titles or precise job responsibilities of each FLSA Class Member

does not prevent collective treatment.

       52.     All FLSA Class Members, irrespective of their particular job requirements, are

entitled to overtime compensation for hours worked in excess of forty (40) during a workweek.

       53.     Although the exact amount of damages may vary among FLSA Class Members,

the damages for FLSA Class Members can be easily calculated by a simple formula. The claims

of all FLSA Class Members arise from a common nucleus of facts. Liability is based on a

systematic course of wrongful conduct by Defendant that caused harm to all FLSA Class Members.

       54.     As such, the class of similarly situated Plaintiffs for the FLSA Class is properly

defined as follows:

               All current and former workers classified as independent contractors
               (or other than employees) who performed work for Defendant
               associated with monitoring and maintaining oil and gas wells
               throughout the United States during the three-year period before the
               filing of this Complaint up to the date the court authorizes notice.

                                     DAMAGES SOUGHT


       55.     Plaintiff and the FLSA Class Members are entitled to recover their unpaid overtime

compensation. 29 U.S.C. §§ 207, 216.

       56.     Plaintiff and the FLSA Class Members are entitled to an amount equal to all of their

unpaid wages as liquidated damages. 29 U.S.C. § 216(b).

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       57.      Plaintiffs and the FLSA Class Members are entitled to recover attorney’s fees and

costs. 29 U.S.C. § 216(b).

                                             JURY DEMAND

       58.       Plaintiff hereby demands trial by jury on all issues.

                                              PRAYER

       59.      For these reasons, Plaintiff, on behalf of himself and the FLSA Class Members

respectfully request that judgment be entered in their favor awarding them the following:

             a. Overtime compensation for all hours worked over forty in a workweek at the
                applicable time-and-a-half rate;

             b. Liquidated damages in an amount equal to their unpaid overtime as allowed under
                the FLSA;

             c. Reasonable attorney’s fees, costs, and expenses of this action as provided by the
                FLSA; and

             d. Such other and further relief to which Plaintiff and Class Members may be entitled,
                at law or in equity.




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                                  Respectfully submitted,

                                  By: /s/ Beatriz Sosa-Morris
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                                 ATTORNEY IN CHARGE FOR PLAINTIFF AND CLASS
                                 MEMBERS




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